There is no new case to show that a judgment in one court, as this is, shall be deducted out of the amount of a judgment in another. The last case cited is indeed of judgments in the courts of common pleas and King's bench, and the one being deducted from the other; but these courts sit under the same roof. In the cases now before the Court they are the judgment of two different courts, sitting for two distinct and separate districts.
The reason of the thing is the same in both cases; the common pleas is as much a distinct court from the King's bench as two Superior Courts held for different districts. Let the judgment in Fayette be deducted from the judgment here, as prayed by the scire facias, and execution issue for the balance only.
NOTE. — See Hogg v. Ashe, 2 N.C. 371; S. c., 1 N.C.